   Case: 1:21-cv-02211 Document #: 92 Filed: 04/11/25 Page 1 of 2 PageID #:1407




                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


 GEORGE GUTIERREZ,
         Plaintiff
                                                    No. 21-cv-02211
        v.
                                                    Judge Jeremy C. Daniel
 MATTHEW THOMAS MEYERS and
 CORY McCUE,
          Defendants


                                        ORDER

This minute entry concerns the final pretrial conference. The Court has sent the
following to the parties via email: (1) draft jury instructions; (2) draft preliminary
instructions; and (3) draft voir dire questions. The parties may file objections,
corrections, or proposed modifications to the draft voir dire questions on or before
April 18, 2025. The Court will hear any objections, corrections, or proposed
modifications to the draft jury and preliminary instructions on April 21, 2025; the
Court will finalize jury instructions at the final jury instruction conference that will
take place at or near the close of all evidence. The Court notes that neither party
submitted proposed instructions on the plaintiff’s state-law battery claim, even
though the parties included the battery claim in their proposed statement of the case.
If the parties intend to present the plaintiff’s battery claim to the jury, they must
submit proposed jury instructions on the battery claim on or before April 18, 2025.
The attached order summarizes the Court’s rulings on the parties’ respective motions
in limine; the Court provided its reasoning during the final pretrial conference.

                                     STATEMENT

 Motion in Limine      Ruling
 Plaintiff’s # 1       Granted; the defendant’s withdrew their opposition in light of
                       the Court’s decision to inform the jury that the traffic stop and
                       exit order were lawful.
 Plaintiff’s # 2       Granted; the defendant’s withdrew their opposition in light of
                       the Court’s decision to inform the jury that the traffic stop and
                       exit order were lawful.
 Plaintiff’s # 6       Denied without prejudice; the defendants represented that
                       they do not intend to introduce evidence that the plaintiff was
                       charged with or convicted of resisting arrest but anticipate
  Case: 1:21-cv-02211 Document #: 92 Filed: 04/11/25 Page 2 of 2 PageID #:1408




                       that the defendants will characterize the plaintiff’s conduct as
                       resisting.
Plaintiff’s # 11       Denied without prejudice.
Plaintiff’s # 13       Denied without prejudice as to medals and commendations as
                       the defendants argued this is contingent on the plaintiff
                       introducing the defendants’ performance reviews. Denied as to
                       uniforms; the defendants may wear their uniforms without
                       medals.
Plaintiff’s # 20       Denied without prejudice. The defendants may testify about
                       their training, to include training on the use of force, and
                       whether their use of force was consistent with that training.
                       The defendants may not opine on the ultimate issue, which is
                       whether the force used was reasonable.
Defendants’ # 1        Denied without prejudice. The plaintiff may testify about any
                       concerns that influenced his decision to remain in his car
                       during the traffic stop.
Defendants’ # 2        Granted. The plaintiff withdrew his objection, subject to the
                       defendant opening the door to evidence concerning the
                       defendants’ past misconduct.
Defendants’ # 3        Taken under advisement, in part because it is unclear how the
                       plaintiff intends to introduce evidence concerning violence or
                       death resulting from prolonged traffic stops.




Date: April 11, 2025
                                                      JEREMY C. DANIEL
                                                      United States District Judge




                                           2
